Case 2:24-cv-03376-SPL--DMF - Document1 Filed 12/02/24 - Page 1 of 27

FILED LODGED
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner) new
DEC 0 2 2024
UNITED STATES DISTRICT COURT ,, cruc uy s pisTrICT COURT
for the DISTRICT OF ARIZONA
A ‘ BY DEPUTY
District of rplton A =

~*~ Division
enn t- burand ——
Case No. CV24-03376-PHX-SPL--DMF
(to be filled in by the Clerk’s Office)

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-y-

(-\ low (L ie’ Re SO ct $ a Casin of
unKACWN Poti e Sa FR]
Sha Liver Dol 1c@
Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

Nee NN Nf a a ae ae aS a

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should nof contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

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I The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name

All other names by which
you have been known:

ID Number
Current Institution
Address

B. The Defendant(s)

Sen ny le oO Wwe

Ia

49 S. Bverqcen kA
“Tempe “RQ XS DN
City State Zip Code

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include |
the person’s job or title (if known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1
Name
Job or Title (if known)
Shield Number
Employer
Address

Defendant No. 2
Name
Job or Title (if known)
Shield Number
Employer
Address

Cile Qe Rosorts Cas, AQ _S

to (4 hogy Ons5

04 Wild Hose. ase Alc.
wpdle fd. ¥ SOD,

7a. City ae Zip Code
dividual capacity ( 4 Official capacity

Unatnon TBA Agents

Qqiw TSE
Preonril A2 ¥994

City St V*Zip Code
Individual capacity Official capacity

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

Defendant No. 3 : « \

Name Oi\ew Rye Price

Job or Title (if known) -

Shield Number

Employer op cy
Address (69 1 3 WJ. YeoAd TOW eA

Soper A. i FSI 7
/

Sjdte “Zip Code
(VJ Individual capacity [A] Official capacity

Defendant No. 4

Name Seer a Muna give nct eKion

Job or Title (if known)

Shield Number ly Age] ] LO. 4 S
Employer St
Address

/ fe City a. Zip Code
[ Windividual capacity LJ fficial capacity

I. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A.

Are yoybringing suit against (check all that apply):
4 Fe efal officials (a Bivens claim)
State or local officials (a § 1983 claim)
Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by

the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local ae

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~ 7 - Tega AD id the pea A

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you.
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal

officials?
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Page 3 of 11
Case *24 VST ME |Dopument 1 Filed 12/02/24 Page4of 27
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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

Til.

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

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Sitter tl Por wr Ue ny Ween de u rts Gand 4th Sees He (
we te bench bu / I WIAEYS i cold Search d
Indicate whether you are a prisoner or other confined person as follows (check all that apply): Sa / bs
[| Pretrial detainee wee" ( mney’ wy S
\ \ {s vA SM Cer ?
[| Civilly committed detainee e ol Co =" f i.
[| Convicted and sentenced state prisoner ws - 4
penW | act ae
[| onvicted and sentenced federal prisoner = ) O hes \
a C \aq w olc
Other (explain) J “Oo 2 a
Center  Paesee
Statement of Claim + col’ [boa 1 A Cn . p S

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the £ ah
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include (Oo
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite Me.
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain nr.
Je 99\Y)

[| Immigration detainee

statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.

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‘

B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

C. What date and approximate time did the events giving rise to your claim(s) occur?

4} 05 / ay Od

D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

Camera
Delve (< Por

V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

Wregrs pmenktet wun

VI. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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fr “p2) OOo ds ers 1Q0 CHiPs sts len

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

Vil.

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]Jo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A.

Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

[| Yes
Lio

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

[| Yes
No
[] Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[| Yes
[| No
[4 Do not know

If yes, which claim(s)?

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

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0 so Ce an Ge we NOt allo <a
LI vo a Pier pe Por t

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

[| Yes
[| No

E. If you did file a grievance:

1. Where did you file the grievance?
Lila Ruer Po\ite Qee re
“ Dos. Cry «\ oantrS

2. What did you claim in your grievance?

Some. &S iw Mn 5 claw \

3. What was the result, if any?

poVV tc

4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

F, If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

when and how, and their response, if any:

G. Please set forth any additional information that is relevant to the exhaustion of your administrative

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
remedies.

| (Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VIII. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

ig

[Ty No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

[| No

B. If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (If there is

more than one lawsuit, describe the additional lawsuits on another page, using the same format.)
2 * — 7 CY - C
: Lregory lank , FBT Ooo.

Parties to the previous lawsuit

Plaintiff(s) Jacl vee D oh NES tim Denney Ni Weal baka al,

Defendant(s) Cc}! Y

2. Court (if federal court, name the district; if state court, name the county and State)

A2 fed (oor Cvat- 02082
PHY Dw

3. Docket or index number

4. Name of Judge assigned to your case

UNKNOWN

5. Approximate date of filing lawsuit

Jaa /acat

If no, give the approximate date of disposition.

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

Unkiow"

C. Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your

imprisonment? —~
VO

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

[| Yes
a

D. If your answer to C is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and State)

3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

[] Yes
[ | No

If no, give the approximate date of disposition

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

IX.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: Bhs. [ Da. [24

Signature of Plaintiff ge ln 4

Printed Name of Plaintiff
Prison Identification # — + ( Loyc_L¢ rated
Prison Address at ny J 1 wr

City State Zip Code

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code

Telephone Number
E-mail Address

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Transaction Into Vault

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Wild Horse Pass Hotel & Casino

Gaming Day:

Vault Location:

4/4/2024

Chip Bank

Vault Shift: 51844 - 4/4/2024 6:19 PM - Open
Description: Found Money

Banker: Smith, Rochelle (016006)

Amount: $95.00

Chip Amount: $0.00

NCV Chip Amount: $0.00

Employee: (Not Selected)

Note: table 253 guest name Jennifer Duran

Banker Signature: Smith, Rochelle (016006)

Verifier Signature: Medrano-Soto, Sandra (007636) Shy,

Uy

Apr 5, 2024 1:13 AMP Yeail

Document# 1907491

CASINO :

CASH TRAC
Case 2:24-cv-03376-SPL--DMF Document1 Filed 12/02/24 Page 14 of 27

Transaction Into Vault Wild Horse Pass Hotel & Casino
Game Day: 4/4/24 Banker: Smith, Rochelle (016006)
Description: Found Money Vault Location: Chip Bank
Employee: (Not Selected) Vault Shift: 51844 - 4/4/2024 6:19 PM - Open
Note: table 253 guest name Jennifer Duran
Other Amount Total
Other Amount Oe $95.00
Grand Total: $95.00
Banker Signature: Smith, Rochelle (016006) | (yl |
Verifier Signature: Medrano-Soto, Sandra (007636) SN :

Friday, April 05, 2024 1:13 AM apy
Document # 1907491

EG CASHTRAC
Case 2:24-cv-03376-SPL--DMF Document1 Filed 12/02/24 Page 15 of 27

Transaction Into Vault __ Wild Horse Pass Hotel & Casino

2 Gaming Day: 4/4/2024

Vault Location: Chip Bank

Vault Shift: 51844 - 4/4/2024 6:19 PM - Open
Description: Found Money

Banker: Smith, Rochelle (016006)

Amount: $95.00

Chip Amount: $0.00

NCV Chip Amount: $0.00

Employee: (Not Selected)

Note: table 253 guest name Jennifer Duran

Banker Signature: Smith, Rochelle (016006)

Verifier Signature: Medrano-Soto, Sandra (007636) Sb,

Apr 5, 2024 1:13 AM [ny pa|

Document# 1907491

GACASHTRAC
Case 2:24-cv-03376-SPL--DMF Document1_ Filed 12/02/24 Page:16 of 27

t

Transaction Into Vault == Wild Horse Pass Hotel & Casino

Game Day: 4/4/24 Banker: Smith, Rochelle (016006)

Description: Found Money Vault Location: Chip Bank

Employee: (Not Selected) Vault Shift: 51844 - 4/4/2024 6:19 PM - Open

Note: table 253 guest name Jennifer Duran
Other Amount Total
pa

ee —_ $95.00

Banker Signature: Smith, Rochelle (016006) | (yy |
Verifier Signature: Medrano-Soto, Sandra (007636) Shy, :
Friday, April 05, 2024 1:13 AM 74 P
Document # 1907491
= CASINO

<a CASH TRAC
Case 2:24-cv-03376-SPL--DMF Document1 Filed 12/02/24 Page 17 of 27
CHANDLER POLICE DEPARTMENT

CAD Call HARDCOPY
CP# CH 2024-53126

SUMMARY
Call Number CP# CH 2024-53126 Date/In Time MAY-10-2024 17:43:25
Status C - CLEARED Priority 3 Me
Queue Type R How Received EMERGENCY 911 SYSTEM
Initial Call Type TRESPASS/SUBJ REFUSING TO Final Call Type TRESPASS/SUBJ REFUSING TO
LEAVE LEAVE
Call Taker 11970 - AUSTIN OVERLEY Call Taker Desk XDSP2

(RESIGNED)

Initial Remarks CUSTOMER WHO IS 54A WAS DRIVING A WHITE VEH, AND IS STILL OS,

CALL TIMES

Received MAY-10-2024 17:43:25
Queued MAY-10-2024 17:44:11
Dispatched MAY-10-2024 17:44:40
Enroute MAY-10-2024 17:44:48
On Scene MAY-10-2024 17:48:11
Cleared MAY-10-2024 18:27:12

TOTALS
Units 2
Images 0 Entities 0
Remarks 8 Documents 2 ‘

INCIDENT LOCATION

Address 2805 WFRYE RD

Place STORQUEST SELF STORAGE
District2 Beat6 Grid |-10

COMPLAINANT INFORMATION

COMPLAINANT INFORMATION

Name TYSON
Place STORQUEST SELF STORAGE
Home Telephone (970) 590-8669

CLEARANCE INFORMATION

Final Case Type TRESPASS/SUBJ REFUSING TO LEAVE
Report Expected NO

How Cleared VERBAL WARNING On Bolo N
Cleared By 11475 - BRANDON SALEWSKI Clearance Desk ID 2P3 ym
#838

Reporting Officer 1 12528 - MELYSSA COCHRAN #888
Clearance Remarks SUBJ. ADV OF FORMAL TRESPASS AND ENTERED INTO LOG. SUBJ LEFT C4
For 12571 Printed On Oct-08-2024 (Tue.) Page 1 of 10

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CHANDLER POLICE DEPARTMENT

CAD Call HARDCOPY
CP# CH 2024-53126

Narrative Text
Type
Subject RP
Author 12528 - MELYSSA COCHRAN #888
Related Date May-10-2024 18:00

System: MVD Received at: 6:00 PM

a 05/10/2024 18:00
ARIZONA DRIVERS LICENSE

LICENSE STATUS:Valid
LICENSE STATUS: - Class D - From 2022-05-10 To 2051-__i/
EXPIRATION: 2051-

PHOTO TYPE:Driver License Photo DATE: 2017-03-06

PERSON: Cunningham, Tyson Kole
DOB: ENN App. Age:
Sex: Male Race:
Address: 531 E Glencove St
City: Mesa State: AZ
Zip: 85203-3642

CSN:
License #: BEEN State of Issue: AZ
Build: Height: 5'11 ft
Weight: 155 lbs
Eye Color: BLU Lens Type: ~,
Hair Color: BRO
Query this name

Perform Photo (DQP) request
DRIVER LICENSE : STATE OF ISSUE:AZ
ISSUED: 2022-05-10 EXPIRES: 2051-ia
RESTRICTION: Corrective lenses
DL CLASS:Class D - From 2022-05-10 To 2051-iiaill
STATUS: Valid

kK KK KKK KKK KKKKKKKKEKE DRIVER ALIAS KK KKK KKK KKK KKK KKK KKKKKK KKK KEEKE
NAME:Cunningham, Kole Tyson
NAME:Cunningham, Tyson Cole
NAME:Cunningham, Tyson Kole

For 12571 Printed On Oct-08-2024 (Tue.) Page 8 of 10
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CHANDLER POLICE DEPARTMENT

CAD Call HARDCOPY
‘CP# CH 2024-53126

EN Ter TN

Narrative Text
Type
Subject MKE/DQ.ST/AZ.OLN/ a. |IMQ
Author 12477 - JACK CARLSON
Related Date May-10-2024 18:12

_ | 05/10/2024 18:12

ARIZONA DRIVERS LICENSE

LICENSE STATUS:Valid
- Class D - From 2023-10-05 To 2039-]iii
EXPIRATION: 203 9-

NAME:Durand, Jennifer R

DATE OF BIRTH:
GENDER: F
ADDRESS:949 S Evergreen Rd, Tempe, AZ, 85288-5074 ~

SSN:

HEIGHT: 501
WEIGHT: 140

EYE COLOR:BRO
HAIR COLOR: BRO

Perform Photo (DQP) request

DRIVER LICENSE :

STATE OF ISSUE:AZ

ISSUED: 2023-10-05

EXPIRES: 2039-

RESTRICTION: Corrective lenses

DL CLASS:Class D - From 2023-10-05 To 2039-i™
STATUS: Valid

KKKKKKKKKKKKKKKKKKKK DRIVER ALIAS KK KKK KK KE KKK KKK KKK KKK KKKKKKKKEK

NAME:Durand, Jennifer

PHOTO TYPE:Driver License Photo
DATE: 2023-10-05

View Attachment

For 12571 ~+Printed On Oct-08-2024 (Tue.) Page 9 of 10
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CHANDLER POLICE DEPARTMENT

CAD Call HARDCOPY

CP# CH 2024-53126

CN AeLIEN

*** END OF HARDCOPY ***

For 12571 ~— Printed On Oct-08-2024 (Tue.) Page 10 of 10
Case 2:24-cv-03376-SPL--DMF Document 1

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eee A ah a FE He
ad foe piete Vas Wain terat eI lh ete litolin oN:

TOYO Ap Coverall ny coum nvexe ll DX=l idol ava 7sV ed poi comanralnears (em cere le (erated NM tess

It was a:
Package

L1 USPS® Smart Parcel Locker
(Smaller than 17Hx13Wx23;

Available for pickup dat
This is the:

L First attempt Final notice
To schedule a redelivery:

Scan the QR code er go to
usps.com/redelivery

Article number:
5293 0651 0195 6420

We have item/s for you which we could not deliver
because:

1 lt requires a payment of $ for:
Postage due Customs

L] Receptacle full/item oversized
e location available
uthorized recipient available
ignature required

___must be 18+ years old ___must be 21+ years old
CL] Other:

Please see reverse to schedule redelivery or pickup.
PS Form 3849, September 2022 ;

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Document 1

Filed 12/02/24

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CHANDLER POLICE DEPARTMENT
CAD Call HARDCOPY

CP# CH 2024-53126

DISPATCH INFORMATION

Prime Unit
Officer 1

Dispatched
At Scene
Inservice

Dispatch ID

Backup Unit
Officer 1

Dispatched
At Scene
Inservice

Dispatch ID

REMARKS

Desk ID
Last Updated Date
Last Updated By

Remarks

Desk ID
Last Updated Date
Last Updated By

Remarks

Desk ID

Last Updated Date
Last Updated By

Remarks

Desk ID

Last Updated Date
Last Updated By

Remarks

Desk ID

Last Updated Date
Last Updated By

2P6

12528 - MELYSSA COCHRAN
#888

MAY-10-2024 17:44:40
MAY-10-2024 17:48:11
MAY-10-2024 18:26:19
11314 - TERESA MICCA

2P3

11475 - BRANDON SALEWSKI
#838

MAY-10-2024 17:44:41
MAY-10-2024 17:53:10
MAY-10-2024 18:27:12
11314 - TERESA MICCA

XDSP2
2024-05-10 17:44:52

11970 - AUSTIN OVERLEY
(RESIGNED)

Type

Enroute

Type

Enroute

Jurisdiction

Last Updated Jur

PT

MAY-10-2024 17:44:48

PT

MAY-10-2024 17:44:51

CH

CH

RP NOW ADVISED THEY ARE NOT DRIVING NOW,GOT OUT AND ARE WALKING TOWARDS

UNIT 3033
XDSP2
2024-05-10 17:45:02

11970 - AUSTIN OVERLEY
(RESIGNED)

RP WANTS HIM TRESPASSED NOW

XDSP2
2024-05-10 17:45:08

11970 - AUSTIN OVERLEY
(RESIGNED)

RP COULD SMELL ALCOHOL ON HIM

XDSP2
2024-05-10 17:45:57

11970 - AUSTIN OVERLEY
(RESIGNED)

Jurisdiction

Last Updated Jur

Jurisdiction

Last Updated Jur

Jurisdiction

Last Updated Jur

CH

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CH

CH

CH

101 WAS DRIVER, WF /APPROX BLONDE /504-506 /RED TANK TOP /BJ'S

XDSP2
2024-05-10 17:46:17

11970 - AUSTIN OVERLEY
(RESIGNED)

Jurisdiction

Last Updated Jur

CH

CH

For 12571

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CHANDLER POLICE DEPARTMENT

CAD Call HARDCOPY

CP# CH 2024-53126

EU Ly

Remarks VEH IS A WHI 3D0OR,A LOT OF BUMPER DAMAGE

Desk ID XDSP2 Jurisdiction CH ~
Last Updated Date 2024-05-10 17:46:23
Last Updated By 11970 - AUSTIN OVERLEY Last Updated Jur CH
(RESIGNED)
Remarks 2 DOOR
Desk ID XDSP2 Jurisdiction CH
Last Updated Date 2024-05-10 17:46:35
Last Updated By 11970 - AUSTINOVERLEY Last Updated Jur CH
(RESIGNED)
Remarks CAN 45 RP AT THE MAIN OFFICE
Desk ID INFO Jurisdiction CH
Last Updated Date 2024-05-10 18:11:41
Last Updated By 12477 - JACK CARLSON Last Updated Jur CH

Remarks 2P6 |DURAND.JENNIFER. a

CHRONOLOGICAL EVENTS

SE MAY-10-2024 17:44:48
SENT TO MDT: 2P6,STATUS CHANGED TO ER BY PATA
12528 2P6 ER ~

SE MAY-10-2024 17:44:51
SENT TO MDT: 2P3,STATUS CHANGED TO ER BY PATA

11475 2P3 ER

Call Remark MAY-10-2024 17:44:52 XDSP2 11970 - AUSTIN OVERLEY (RESIGNED)
RP NOW ADVISED THEY ARE NOT DRIVING NOW,GOT OUT AND ARE WALKING TOWARDS
UNIT 3033 .

Call Remark MAY-10-2024 17:45:02 XDSP2 11970 - AUSTIN OVERLEY (RESIGNED)
RP WANTS HIM TRESPASSED NOW

Call Remark MAY-10-2024 17:45:08 XDSP2 11970 - AUSTIN OVERLEY (RESIGNED)
RP COULD SMELL ALCOHOL ON HIM

Call Remark MAY-10-2024 17:45:57 XDSP2 11970 - AUSTIN OVERLEY (RESIGNED)
401 WAS DRIVER, WF /APPROX BLONDE /504-506 /RED TANK TOP /BJ'S

Call Remark MAY-10-2024 17:46:17 XDSP2 11970 - AUSTIN OVERLEY (RESIGNED)
VEH IS A WHI 3DOOR,A LOT OF BUMPER DAMAGE

Call Remark MAY-10-2024 17:46:23 XDSP2 11970 - AUSTIN OVERLEY (RESIGNED)
2 DOOR *s

Call Remark MAY-10-2024 17:46:35 XDSP2 11970 - AUSTIN OVERLEY (RESIGNED)
CAN 45 RP AT THE MAIN OFFICE

Call Update MAY-10-2024 17:46:48 XDSP2 11970 - AUSTIN OVERLEY (RESIGNED)

COMP.NAME:CHANGED TO:TYSON

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Chica) LY

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CHANDLER POLICE DEPARTMENT

CAD Call HARDCOPY
CP# CH 2024-53126

Call Update

External Query

RMS Query

Text Document

RMS Query

External Query

RMS Query

External Query

External Query

RMS Query

MAY-10-2024 17:46:48 XDSP2 11970 - AUSTIN OVERLEY (RESIGNED)
COMP.CONTACT:CHANGED TO:C

MAY-10-2024 17:49:04

EXT Q VEH-LIC:BFX5924 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1017490363141875853 TONC:Y UNIT:2P6

12528 2P6 OS

MAY-10-2024 17:49:04

RMS Q VEH-LIC:BFX5924 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1017490363141875853 TONC:Y UNIT:2P6 :

~

12528 2P6 OS
MAY-10-2024 18:00:00 12528 - MELYSSA COCHRAN #888
RP

MAY-10-2024 18:00:35

RMS Q PERS-NAME:CUNNINGHAM G1:TYSON G2:KOLE DOB EE DL:
STATE:AZ REC:Y CAD:Y EXTN:Y EXTD:Y THID:1018003539446603754 TONC:Y UNIT:2P6

12528 2P6 OS

MAY-10-2024 18:00:35

EXT Q PERS-NAME:CUNNINGHAM G1:TYSON G2:KOLE DOB: OL:
STATE:AZ REC:Y CAD:Y EXTN:Y EXTD:Y THID:1018003539446603754 TONC:Y UNIT:2P6

12528 2P6 OS

MAY-10-2024 18:03:32

RMS Q VEH-LIC:BWC4507 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1018033229660174087 TONC:Y UNIT:2P6

12528 2P6 OS

MAY-10-2024 18:03:32

EXT Q VEH-LIC:BWC4507 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN: Y EXTE:Y
THID:10180332296601 74087 TONC:Y UNIT:2P6

12528 2P6 OS

MAY-10-2024 18:03:32

EXT Q VEH-LIC:BWC4507 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1018033225700241154 TONC:Y UNIT:2P3

11475 2P3 OS

MAY-10-2024 18:03:32

RMS Q VEH-LIC:BWC4507 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1018033225700241154 TONC:Y UNIT:2P3

11475 2P3 OS
Call Remark MAY-10-2024 18:11:41 INFO 12477 - JACK CARLSON
2P6 IDURAND.JENNIFER. [aaa
SE MAY-10-2024 18:11:41
QRY PER: 2P6 DURAND JENNIFER 11221974 AZ
12528 2P6 OS
For 12571 Printed On Oct-08-2024 (Tue.) Page 4 of 10
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CHANDLER POLICE DEPARTMENT

CAD Call HARDCOPY
CP# CH 2024-53126

Text Document MAY-10-2024 18:12:00 12477 - JACK CARLSON
MKE/DQ.ST/AZ.OLN aa. |1VQ

98 MAY-10-2024 18:26:19

12528 2P6 AV
98 MAY-10-2024 18:27:12

11475 2P3 AV

Call Update MAY-10-2024 18:28:23 INFO 12477 - JACK CARLSON
PRIORITY:2 TO:3

Call Update MAY-10-2024 18:28:23 INFO 12477 - JACK CARLSON
REPORT FLAG:N TO:Y

Call Update MAY-10-2024 18:28:23 INFO 12477 - JACK CARLSON
REPORTING OFFICER2:CH TO:

Call Update MAY-10-2024 18:28:23 INFO 12477 - JACK CARLSON

CALL TYPE:DUI TO:TRESP

Call Update MAY-24-2024 15:03:23 INFO 10747 - TAYLOR KOSAREFF
REPORT FLAG:Y TO:N ~

UNIT/OFFICER DETAILS

Details MAY-10-2024 17:44:40 11314 - TERESA MICCA
2P6 12528 PT
2805 W FRYE RD
Details MAY-10-2024 17:44:41 11314 - TERESA MICCA
2P3 11475 PT
2805 W FRYE RD
Details MAY-10-2024 17:44:48 11314 - TERESA MICCA
2P6 12528 PT
Details MAY-10-2024 17:44:48 11314 - TERESA MICCA
2P6 12528 PT
SENT TO MDT: 2P6,STATUS CHANGED TO ER BY PATA
Details MAY-10-2024 17:44:51 11314 - TERESA MICCA
2P3 11475 PT
Details MAY-10-2024 17:44:51 11314 - TERESA MICCA ‘
2P3 11475 PT
SENT TO MDT: 2P3,STATUS CHANGED TO ER BY PATA
Details MAY-10-2024 17:48:11 12528 - MELYSSA COCHRAN #888
2P6 12528 PT
Details MAY-10-2024 17:49:04 12528 - MELYSSA COCHRAN #888

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CHANDLER POLICE DEPARTMENT

CAD Call HARDCOPY
CP# CH 2024-53126

Details

Details

Details

Details

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Details

2P6 12528 PT

EXT Q VEH-LIC:BFX5924 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1017490363141875853 TONC:Y UNIT:2P6

MAY-10-2024 17:49:04 12528 - MELYSSA COCHRAN #888
2P6 12528 PT

RMS Q VEH-LIC:BFX5924 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1017490363141875853 TONC:Y UNIT:2P6

MAY-10-2024 17:53:10 11475 - BRANDON SALEWSKI #838

2P3 11475 PT sy
MAY-10-2024 18:00:35 12528 - MELYSSA COCHRAN #888

2P6 12528 PT

RMS Q PERS-NAME:CUNNINGHAM G1:TYSON G2:KOLE DOB: DL:
STATE:AZ REC:Y CAD:Y EXTN:Y EXTD:Y THID:1018003539446603754 TONC:Y UNIT:2P6

MAY-10-2024 18:00:35 12528 - MELYSSA COCHRAN #888
2P6 12528 PT

EXT Q PERS-NAME:CUNNINGHAM G1:TYSON G2:KOLE DOB: EDL:
STATE:AZ REC:Y CAD:Y EXTN:Y EXTD:Y THID:1018003539446603754 TONC:Y UNIT:2P6

MAY-10-2024 18:03:32 12528 - MELYSSA COCHRAN #888
2P6 12528 PT

RMS Q VEH-LIC:BWC4507 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1018033229660174087 TONC:Y UNIT:2P6

MAY-10-2024 18:03:32 12528 - MELYSSA COCHRAN #888
2P6 12528 PT

EXT Q VEH-LIC:BWC4507 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1018033229660174087 TONC:Y UNIT:2P6

MAY-10-2024 18:03:32 11475 - BRANDON SALEWSKI #838, _
2P3 11475 PT ,

EXT Q VEH-LIC:BWC4507 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1018033225700241154 TONC:Y UNIT:2P3

MAY-10-2024 18:03:32 11475 - BRANDON SALEWSKI #838
2P3 11475 PT

RMS Q VEH-LIC:BWC4507 STATE:AZ TYPE:PC YR:2024 REC:Y CAD:Y EXTN:Y EXTE:Y
THID:1018033225700241154 TONC:Y UNIT:2P3

MAY-10-2024 18:11:41 12477 - JACK CARLSON

2P6 12528 PT

QRY PER: 2P6 DURAND JENNIFER 11221974 AZ

MAY-10-2024 18:26:19 12528 - MELYSSA COCHRAN #888
2P6 12528 PT
MAY-10-2024 18:26:19 12528 - MELYSSA COCHRAN #888
2P6 12528 PT

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CHANDLER POLICE DEPARTMENT

CAD Call HARDCOPY

CP# CH 2024-53126

Chirseh Ly

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UPDATED CASE CH53126 FOUNDED-Y REPORT-N CLEARED BY-V FINAL-TRESP BOLO-
STUDY FLAG- REM-SUBJ. ADV OF FORMAL TRESPASS AND ENTERED INTO LOG. SUBJ

LEFT C4

Details MAY-10-2024 18:27:12 11475 - BRANDON SALEWSKI #838
2P3 11475 PT

Details MAY-10-2024 18:27:12 11475 - BRANDON SALEWSKI #838
2P3 11475 PT

CLEARED CASE CH53126 FOUNDED-Y REPORT-N CLEARED BY-V FINAL-TRESP BOLO-N
STUDY FLAG- REM-SUBJ. ADV OF FORMAL TRESPASS AND ENTERED INTO LOG. SUBJ
LEFT C4

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